JS 44 (Rey, 04/21)

purpose of initiating the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

TARA SNEARL AND AYANNA TRAN

DEFENDANTS

CITY OF PORT ALLEN, MIKE CAZES AND ABC
INSURANCE AGENCIES

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S, PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (if Known)

Erin Pedrami, One American Place, 301 N. Main St.,

Suite 2200, Baton Rouge, LA 70825; PH#225-245-9800

 

J. Scott Thomas, 700 N. 10th Street, Suite 440, Baton
Rouge, LA 70802; PH# 225-344-4001

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only)

 

(For Diversity Cases Only)

II. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

 

 

 
    
        
    
 
  
 

 

   

  

    

 

 

 

 

 
 
 

 

 
 

 

[-]1 U.S. Government [K]3 Federal Question PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State l 1 Incorporated or Principal Place O 4 Cc 4
of Business In This State
C] 2 U.S. Government C4 Diversity Citizen of Another State CT] 2 oO 2 Incorporated and Principal Place oO 5 O 5
Defendant (Indicate Citizenship of Parties in Item IL) of Business In Another State
Citizen or Subject ofa Cc] 3 C] 3 Foreign Nation | 6 (le
Foreign Country
IV. NATURE OF SUIT Place a an “X” in One Box Only) Click here for: Nature of Suit Code Descriptions,
: . | TORTS _ _| FORFEITURE/PENALTY | BANKRUPTCY [| OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | }625 Drug Related Seizure | | 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Cl 365 Personal Injury - of Property 21 USC 881 = 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability []690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cc] 367 Health Care/ INTELLECTUAL | 400 State Reapportionment
Cl 150 Recovery of Overpayment ["] 320 Assault, Libel & Pharmaceutical _ PROPERTY RIGHTS. 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (| 820 Copyrights 430 Banks and Banking
H 151 Medicare Act } 330 Federal Employers’ Product Liability BB 830 Patent 450 Commerce
152 Recovery of Defaulted Liability im 368 Asbestos Personal | 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability {_] 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY |. LABOR | I] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud TOF Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[7] 160 Stockholders’ Suits H 355 Motor Vehicle H 371 Truth in Lending Act |] 485 Telephone Consumer
[| 190 Other Contract Product Liability L] 380 Other Personal (1720 Labor/Management . S Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations a 861 HIA (395) 490 Cable/Sat TV
196 Franchise Injury CC] 385 Property Damage 740 Railway Labor Act # | 862 Black Lung (923) 850 Securities/Commodities/
| _] 362 Personal Injury - Product Liability 751 Family and Medical (| 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act | 864 SSID Title XVI | 890 Other Statutory Actions
—— aS ; Te : 1 790 Other Labor Litigation | 865 RSI(405(g)) | 891 Agricultural Acts
[| 210 DLand Condemnation xX 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement 893 Environmental Matters
[_] 220 Foreclosure |__| |_| 463 Alien Detainee Income Security Act _ FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate 7 870 Taxes (US. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | | 530 General ("| 871 IRS—Third Party 899 Administrative Procedure
[_]290 All Other Real Property [__] 445 Amer. w/Disabilities -[ | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -[” ] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other |] 550 Civil Rights Actions State Statutes
|_| 448 Education |_| 555 Prison Condition
|_| 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

C] 1 Original

Proceeding Stat

VI. CAUSE OF ACTION

[x2 Removed from

3. Remanded from

e Court Appellate Court

42 U.S.C. § 1983

Reopened

4 Reinstated or 5 Transferred from
O O Another District

(specify)

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

Brief description of cause:

 

Plaintiffs allege the use of excessive and reasonable force as violative of 5th and 14th Amendment

 

 

 

 

 

 

 

VIL REQUESTED IN — [] CHECK IF THISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cy.P. JURY DEMAND: Lives [K]No
VIII. RELATED CASE(S)
See instructions):
IF ANY (See insir JUDGE DOCKET NUMBER
DATE f SIGNATURE OF ATTORNEY ¢ OF RECORD
@ fo } ~j \ * j enn, = Sse oe \ Less. etre, my
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
